Filed 05/02/25                                     Case 23-01039                                              Doc 180



                                       UNITED STATES BANKRUPTCY COURT
                                       EASTERN DISTRICT OF CALIFORNIA


            In re                                          ) Case No.: 23-10947 - A - 13
            Sonia Lopez,                                   ) Adv No.: 23-01039
                       Debtor.                             ) Docket Control No.:
                                                           ) Document No.: 171
                                                           )
                                                           )
            Lopez,                                         ) Date: 05/01/2025
                       Plaintiff,                          ) Time: 11:00 AM
            v.                                             ) Dept: A
            Unified Mortgage Service, Inc.                 )
            et al.,
                       Defendants.                         )
                                                           )



                                                        Order


           For the reasons stated on the record and as set forth in the court's
           minutes, docket number 176,
           IT IS ORDERED that the order to show cause is CONCLUDED.
           IT IS FURTHER ORDERED that the ADVERSARY PROCEEDING IS DISMISSED
           for lack of prosecution.



                    May 02 2025




           Order to Show Cause Regarding Dismissal of Adversary Proceeding for Failure to Prosecute - [171]
           - Order to Show Cause ; This order is Transmitted to BNC for Service. Show Cause hearing to be
           held on 5/1/2025 at 11:00 AM at Fresno Courtroom 11, Department A (smis)
